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                                                   EXHIBIT 13
            Case 1:16-cv-01000-RJJ-RSK ECF No. 1-13, PageID.222 Filed 08/10/16 Page 2 of 2


Coi^Cind^

From:                                                   RoveConcepts < info@roveconcepts.com >
Sent:                                                   Monday, July 28, 2014 6:41 PM
To:                                                     Wassom, Brian D.
Subject:                                                Re: Reply



As indicated we would like to update you that we have proceeded to remove trademarked content in question from our website.


On Fri, Jul 25, 2014 at 1:46 AM, RoveConcepts <info@roveconcepts.com> wrote:
Hi Brian,

Our latest correspondence with Mr. Morton, as he can confirm with you, is that he has referred us to a US firm.

We wanted to reach out at this time to inform you we are preparing a more substantive reply to your concerns to follow early next
week. Please do continue to reach us at this email with your replies.

Regards,


Rove Concepts

Toll Free: 1.800.705.6217
Website: http://www.roveconcepts.com/
News: httP.7/www.prweb.com/reteases/2013/9/pfweb11111222.htm



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Toll Free: 1.800.705.6217
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